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Case: 24−40158−NGH                           Form ID: pdf018                        Total: 279


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          CNH Industrial Capital America LLC
cr          MWI Veterinary Supply Inc.
cr          McAlvain Concrete, Inc.
cr          JOHN DEERE FINANCIAL
cr          Rocky Mountain Agronomics, Inc.
cr          Official Committee Of Unsecured Creditors
cr          Brandy Ann Bartholomew
aty         O'Melveny & Myers LLP
5339219     #3924637
5337874     Badger Bearing PTP, Inc
5350001     MWI Veterinary Supply
5346022     Rexel USA, Inc. dba Platt Electric Supply
                                                                                                              TOTAL: 12

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aty         Robert E Richards           robert.richards@dentons.com
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aty         Sheila Rae Schwager              sschwager@hawleytroxell.com
aty         Thomas E Dvorak             ted@givenspursley.com
aty         Tirzah R. Roussell           tirzah.roussell@dentons.com
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                                                                                                                          TOTAL: 55

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Millenkamp Cattle, Inc         471 North 300 West           Jerome, ID 83338
cr          Rabo AgriFinance LLC            c/o Sheila R. Schwager          P.O. Box 1617          Boise, ID 83701
cr          Viterra USA Grain, LLC and Viterra USA Ingredients, LLC                c/o Racine Olson, PLLP          P.O. Box
            1391        Pocatello, ID 83204
cr          MetLife Real Estate Lending LLC            c/o Kimbell D. Gourley           10801 Mastin Blvd         Suite
            700        Overland Park, KS 66210
cr          Metropolitan Life Insurance Company            c/o Kimbell D. Gourley           10801 Mastin BLVD           Suite
            700        Overland Park, KS 66210
cr          Conterra Holdings, LLC d/b/a Conterra Ag Capital as loan servicer and power of attorney for Ag Funding SC II LLC
            and Conterra Holdings, LLC d/b/a Conterra Ag Capital as loan servicer and power of att              Spencer
            Fane        1700 Lincoln Street         Suite 2000        Denver, CO 80203
cr          Western States Equipment Co.           500 East Overland Road            Meridian, ID 83642
cr          c/o David A. Coleman Youree Land & Livestock, Inc.              Coleman, Ritchie & Jacobson           PO BOX
            525        TWIN FALLS, ID 83303−0525 UNITED STATES
cr          c/o David A. Coleman B & H Farming             Coleman, Ritchie & Jacobson             PO BOX 525          TWIN FALLS,
            ID 83303−0525 UNITED STATES
cr          East Valley Development, LLC            c/o Avery Law          3090 E Gentry Way, Ste 250            Meridian, ID 83642
cr          Land View, Inc.         P.O. Box 475         Rupert, ID 83350
cr          MWI Veterinarian Supply, Inc.           3041 W PASADENA DRIVE                  Boise, ID 83705 UNITED STATES
cr          Raft River Rural Electric Cooperative, Inc.         c/o Rhett M. Miller         P.O. Box 910         Burley, ID 83318
cr          Viserion Grain, LLC          c/o Sawtooth Law Offices, PLLC             213 Canyon Crest Dr., Ste 200         Twin Falls,
            ID 83301 UNITED STATES
cr          Ad Hoc Committee of Corn Silage Growers              153 East Main Street          PO Box 168         Jerome, ID 83338
cr          Progressive Dairy Service & Supply Corp.            485 S IDAHO ST            WENDELL, ID 83355−5241
cr          Elevation Electric, LLC         485 S IDAHO ST            WENDELL, ID 83355−5241
cr          Bunge Canada C/O David D. Farrell            David D. Farrell. Esq.         One Bank Plaza          Suite 2700        St.
            Louis, MO 63101
intp        Glanbia Foods Inc         c/o Robert A Faucher          POB 2527           Boise, ID 83701
intp        Sandton Capital Partners LP          16 W 46th Street, 1st Floor         New York, NY 10036
cr          Automation Werx, LLC            Morrow & Fischer, PLLC             4 Ogden Avenue           Nampa, ID 83651
cr          Wilbur−Ellis Company LLC             c/o Matthew A. Sturzen           P.O. Box 2247         Salem, OR 97308
cr          PerforMix Nutrition Systems, LLC            MUNDING, P.S.            309 E. FARWELL RD., STE 310               Spokane,
            WA 99218 UNITED STATES
cr          Idaho State Brand Department           700 S. Stratford Dr.        Meridian, ID 83642 UNITED STATES
cr          Moss Grain Partnership          c/o Rhett M. Miller        P.O. Box 910          Burley, ID 83318
cr          Moss Farms Operations, LLC            c/o Rhett M. Miller         P.O. Box 910          Burley, ID 83318
cr          United Electric Co−op, Inc.         c/o Rhett M. Miller         P.O. Box 910          Burley, ID 83318
cr          Standlee Ag Resources          c/o Miller Nash LLP          950 W Bannock St, Ste 1100            Boise, ID 83702
cr          Burks Tractor Company, Inc.           3140 Kimberly Road           Twin Falls, ID 83301
cr          Blue Cross of Idaho Health Service, Inc         c/o Law Office of D. Blair Clark PC            967 East Parkcenter
            Boulevard, #282         Boise, ID 83706 UNITED STATES
aty         Matthew T. Christensen          199 N. Capitol Blvd.          Ste 200        Boise, ID 83702
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crcm        Bruce A. Anderson          320 East Neider Avenue           Suite 102         Coeur d'Alene, ID 83815
r           Schuil Ag Real Estate Inc         5020 W Mineral King Ave             Visalia, CA 93291
app         Gale W. Harding and Associates           329 W 7th S          Rexburg, ID 83440
app         Davis Livestock, Inc.        780 E Cannibal Rd          Lewiston, UT 84320
br          The Forbes Securities Group LLC, DBA Forbes Partners as Investment Banker                 6400 S Fiddlers Green
            Circle       Suite 850         Greenwood Village, CO 80111
cr          Rexel USA, Inc dba Platt Electric Supply          McConnell Wagner Sykes + Stacey PLLC                827 E. Park Blvd,
            Ste. 201       Boise, ID 83712
cr          Amalgamated Sugar Company              1951 S. Saturn Way           Suite 100        Boise, ID 83709
aty         Bruce A. Anderson          320 East Neider Avenue           Suite 102         Coeur d'Alene, ID 83815
intp        William Millenkamp           473 S 300 W          Jerome, ID 83338
cr          Valley Wide Cooperative Inc.          c/o David W. Gadd, Stover, Gadd & Assoc.              P.O. Box 1428         Twin
            Falls, ID 83303−1428
intp        Idaho AgCredit         c/o Daniel C. Green         Racine Olson, PLLP            P. O. Box 1391         Pocatello, ID 83201
aty         Julian Gurule        O'Melveny & Meyers LLP             400 South Hope Street           Suite 1900        Los Angeles, CA
            90071
acc         Cooper Norman           PO Box 5399          Twin Falls, ID 83303
app         Summit Ag Appraisal Inc           995 S 1150 E         Albion, ID 83311
fa          Amory Securities LLC           200 North Pacific Hwy           Suite 1525         El Segundo, CA 90245
sp          Givens Pursley LLP          Givens Pursley LLP          601 W. Bannock            P.O. Box 2720         Boise, ID
            83701−2720 UNITED STATES
aty         Adam A Lewis           Morrison & Foerster LLP           425 Market Street          San Francisco, CA 94105
aty         Andrew Schoulder          1301 Avenue of The Americas              New York, NY 10019−6022
aty         Domenic E Pacitti         Klehr Harrison Harvey Branzburg LLP              919 Market Street         Suite
            1000        Wilmington, DE 19801
aty         Gabriel L Olivera        7 Times Square          New York, NY 10036
aty         James J Niemeier         McGrath North Mullin & Kratz, PC LLO                1601 Dodge Street         Ste
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aty        John O'Brien          Spencer Fane LLP           1700 Lincoln Steet           Suite 2000         Denver, CO 80203
aty        Julian Gurule         400 South Hope Street           Suite 1900          Los Angeles, CA 90071
aty        Karyn Lloyd          Gordon Rees Scully Mansukhani, LLP                 999 W Main Street          100        Boise, ID 83702
aty        Krystal R Mikkilineni           Dentons Davis Brown            215 10th St          Ste 1300        Des Moines, IA 50309
aty        Matthew Kremer            7 Times Square          New York, NY 10036
aty        Michael R Stewart           2200 Wells Fargo Center            90 South Seventh Street          Minneapolis, MN 55402
aty        Miranda Russell          Morrison & Foerster LLP             250 West 55th Street           New York, NY 10019
aty        Morton R Branzburg             Klehr Harrison Harvey Branzburg LLP              1835 Market St          Suite
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aty        Nikolaus F Schandlbauer            20 F Street NW           Suite 500         Washington DC 20001
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           97205
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aty        Robert E. Richards          233 South Wacker Drive             Suite 5900          Chicago, IL 60606−6361
aty        Ron C Bingham, II           3424 Peachtree Road NE             Suite 1600          Atlanta, GA 30326
aty        Scott F Gautier         1800 Century Park East            Ste 1500         Los Angeles, CA 90067
aty        Tirzah R. Roussell         215 10th Street          Suite 1300          Des Moines, IA 50309
aty        W. Kent Carter          One North Franklin           Suite 800          Chicago, IL 60606
aty        Zachary Fairlie         Spencer Fane LLP           1000 Walnut Street           Suite 1400         Kansas City, MO 64106
aty        Zachery J McCraney             Holland & Hart         Po Box 2527            800 W Main Street          Suite
           1750         Boise, ID 83701
5338201    A K Trucking1897 E 990 S Hazelton, ID 83335                 A. Scott Jackson TruckingPO Box 56 Jerom              A. Scott
           JacksonTrucking Inc PO Box 56 J              ABS Global Inc Box 22144 Network Place C                Addison Biological Lab
           507 N Cleveland S           Aden Brook Trading CorpPO Box 217 Montgo
5338357    A. Scott Jackson Trucking, Inc.           c/o Williams Meservy & Larsen, LLP               Post Office Box 168         153 East
           Main Street         Jerome, ID 83338
5339172    AAA Cow Comfort LLC                Po Box 307          Kimberly, ID 83341
5339357    ABS Global           1525 River Rd.          DeForest, WI 53532
5352499    ARNOLD MACHINERY COMPANY                          2975 West 2100 South             Salt Lake City, UT 84119
5345130    Addison Biological Laboratory, INC.             507 North Cleveland St.            Fayette, MO 65248
5339173    Airgas USA LLC            PO Box 734445            Chicago, IL 60673−4445
5341229    Airgas USA, LLC            110 West 7th St. Suite 1400            Tulsa, OK 74119
5339859    Alexander K. Reed           4296 N 2100 E           Filer, ID 83328
5339174    Amalgamated Sugar             1951 S Saturn Way            Ste 100         Boise, ID 83709
5345729    Amalgamated Sugar Company                1951 S. Saturn Way, Suite 100             Boise, ID 83709
5345775    Amalgamated Sugar Company                1951 S. Saturn Way, Suite 100             Boise, ID 83709
5340188    American Calf Products (Golden State Mixing, Inc.)               425 D Street         Turlock, CA 95380
5342707    American Express National Bank              c/o Becket and Lee LLP            PO Box 3001           Malvern PA
           19355−0701
5342727    American Express National Bank              c/o Becket and Lee LLP            PO Box 3001           Malvern PA
           19355−0701
5336402    Automation Werx, LLC              PO Box 3066           Idaho Falls, ID 83401
5339552    B & H Farming, an Idaho General Partnership               PO Box 123           Rupert, ID 83350
5339175    BS R Design Supplies            198 Locust St S          Twin Falls, ID 83301
5341673    Blue Cross of Idaho           c/o D Blair Clark, Atty         967 Parkcenter Blvd #282            Boise, ID 83706
5341702    Blue Cross of Idaho           c/o D. Blair Clark, Attorney          967 E. Parkcenter Blvd., #282          Boise, ID
           83706
5339860    Bo Stevenson dba B&A Farms               1001 S 1900 E           Hazelton, ID 83335
5345992    Brandy A. Bartholomew              C/O Eric R. Clark, Attorney           P.O. Box 2504          Eagle, ID 83616
5335094    Bunge Canada           c/o David D. Farrell          THOMPSON COBURN LLP                     One USBank Plaza, Suite
           2700         Saint Louis, Missouri 63101
5354690    Burks Tractor Company, Inc.            Oren B. Haker           Black Helterline LLP           805 SW Broadway Suite
           1900         Portland, OR 97205
5350014    CNH Industrial Capital America LLC              Kent Carter/Gordon Rees              One North Franklin, Suite
           800        Chicago, IL 60606
5339191    Capitol One         PO Box 60599            City of Industry, CA 91716
5345658    Carne I Corp.         134 E. Highway 81            Burley, ID 83318
5344923    Cellco Partnership d/b/a Verizon Wireless            William M Vermette             22001 Loudoun County
           PKWY           Ashburn, VA 20147
5335227    CenturyTel Service Group, LLC dba CenturyLink                 Lumen Technologies Group              931 14th Street, 9th Floor
           (Attn: Legal−BKY)            Denver, CO 80202
5339520    Christopher Camardello            1031 Mendota Heights Road              St. Paul, MN 55120
5339192    Citi Cards        PO Box 78019            Phoenix, AZ 85062
5339861    Clint D. Thompson            298 N 200 W          Jerome, ID 83338
5335499    Coastline Equipment Company               2000 E Overland Rd            Meridian, ID 83642
5339193    Colonial Life         Processing Center          PO Box 1365            Columbia, SC 29202−1365
5345020    Connie Lapaseotes, Ltd.           c/o John O'Brien          Spencer Fane          1700 Lincoln Street, Suite
           2000         Denver, CO 80203
5339194    Conrad Bishcoff Inc           2251 N Holmes           PO Box 50106            Idaho Falls, ID 83405
5338938    Conterra Holdings, LLC dba Conterra Ag Capital as                c/o John O'Brien          Spencer Fane        1700 Lincoln
           Street, Suite 2000         Denver, CO 80203
5338613    Conterra Holdings, LLC dba Conterra Ag Capital as                c/o John O'Brien          Spencer Fane        1700 Lincoln
           Street, Suite 2000         Denver, CO 80260
5348879    Daimler Truck Financial Services USA LLC                c/o Randall P. Mroczynski            Cooksey, Toolen, Gage, Duffy &
           Woog          535 Anton Boulevard, Suite 1000              Costa Mesa, CA 92626
5339521    Dairy Tech, LLC           1031 Mendota Heights Road               St. Paul, MN 55120
5339195    Daritech        8540 Benson Rd             Lynden, WA 98264
5340867    David Clark          Clark Ambulatory Clinic, Inc.           1019 E 1020 S           Albion, ID 83311
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5339862   Douglas J. Grant          2050 E 500 S            Hazelton, ID 83335
5339863   Dusty Brow Farms, Inc.             2601 E 1100 S           Hazelton, ID 83335
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5336403   Electrical Werx & Construction, LLC                PO Box 3066           Idaho Falls, ID 83401
5336173   Elevation Electric, LLC            485 S. Idaho St.         Wendell, ID 83355
5339196   Eric Clark         Clark Associates            PO Box 2504           Eagle, ID 83616
5339197   Evans Plumbing           111 Gulf Stream Lane              Hailey, ID 83333
5339591   Farmers Bank           PO Box 392             Buhl, ID 83316
5345915   Fastenal Company            2001 Theurer Blvd.             ATTN: LEGAL             Winona, MN 55987
5345021   Fredin Brothers, Inc.          c/o John O'Brien           Spencer Fane         1700 Lincoln Street, Suite 2000         Denver,
          CO 80203
5336661   G.J. Verti−Line Pumps, Inc.             PO Box 892           Twin Falls, ID 83303−0892
5339865   Grant & Hagan, Inc.           P.O. Box 326            Hazelton, ID 83335
5339866   Grant 4−D Farms LLC              707 E 600 N            Rupert, ID 83350
5345661   Green Source Automation, LLC                 3506 Moore Road            Ceres, CA 95307
5339198   Hatfield Manufacturing Inc             1823 Shoestring Rd            Gooding, ID 83330
5353585   Heeringa Construction LLC              18521 E Queen Creek Rd              #105−481          Queen Creek, AZ 85142
5339867   Hollifield Ranches, Inc.           22866 Highway 30             Hansen, ID 83334
5340509   IRS         Centralized Insolvency Oper.             PO Box 7346           Philadelphia, PA 19101−7346
5339199   Idaho Dept of Lands           PO Box 83720              Boise, ID 83720
5354954   Idaho Materials & Construction              c/o Miller Nash LLP           950 W Bannock St, Ste 1100           Boise, ID
          83702
5339526   Idaho State Tax Commission               PO Box 36           Boise, ID 83722
5339200   Innovative Food SolutionsUSA                Attn: Jordan Bowen           134 E. Highway 81           Burley, ID 83318
5339765   Interstate Billing Service, Inc          PO box 2250           Decatur, AL 35609
5345295   J&C Hoof Trimming Inc.              3690 N 2570 E            Twin Falls, ID 83301
5345360   J.D. Heiskell Holdings, LLC             17220 Wright St, Ste 200            Omaha, NE 68130
5339527   JOHN DEERE FINANCIAL                     c/o Weltman, Weinberg & Reis Co., L.P.A.              965 Keynote
          Circle        Cleveland, OH 44131
5339203   JP Morgan Chase            PO Box 6294             Carol Stream, IL 60197
5338039   JPMorgan Chase Bank, N.A.                s/b/m/t Chase Bank USA, N.A.             c/o National Bankruptcy Services,
          LLC          P.O. Box 9013           Addison, Texas 75001
5338040   JPMorgan Chase Bank, N.A.                s/b/m/t Chase Bank USA, N.A.             c/o National Bankruptcy Services,
          LLC          P.O. Box 9013           Addison, Texas 75001
5339201   Jake Millenkamp           1719 River Road              Buhl, ID 83316
5349577   James Farrell & CO            13810 SE Eastgate Way              Suite 520        Bellevue, WA 98005
5339868   Jean L. Thompson            225 N 250 W             Jerome, ID 83338
5339202   Jeffrey E. Rolig         PO Box 5455             Twin Falls, ID 83303−5455
5345787   Jeffrey J. Grieve        P.O. Box 366             Twin Falls, ID 83303−0366
5339016   John Deere Construction and Forestry Company                  c/o Weltman, Weinberg & Reis Co., L.P.A.            965 Keynote
          Circle        Cleveland, OH 44131
5339015   John Deere Financial, f.s.b.          c/o Weltman, Weinberg & Reis Co., L.P.A.               965 Keynote
          Circle        Cleveland, OH 44131
5339204   K R Rental Inc          256 A South 600 W              Heyburn, ID 83336
5339205   Keith D. and Janet Carlson            3866 E 3800 N            Hansen, ID 83334
5345788   Kenworth Sales Company, Inc.               c/o Benoit Law           P.O. Box 366          Twin Falls, ID
          83303−0366           ,
5339206   Kinghorn Medical LLC              248 S Cole Rd            Boise, ID 83709
5345508   Kraus Farms, LLC            165 South 400 West              Rupert, ID 83350          ,
5345606   LES SCHWAB TIRE CENTERS OF IDAHO, LLC                             PO BOX 5350             BEND, OR 97708
5339541   Land View, Inc.          c/o Gery W. Edson              P.O. Box 448          Boise, ID 83701
5350983   Merck Animal Health             Attn: Legal Dept−Animal Health               126 East Lincoln Avenue          Po Box
          2000         Rahway, NJ 07065
5349667   MetLife Real Estate Lending, LLC                c/o Ron C. Bingham, II, Esq.           Adams and Reese LLP          3424
          Peachtree Road, NE, Suite 1600               Atlanta, Georgia 30326
5349670   Metropolitan Life Insurance Company, a New York Co                    c/o Ron C. Bingham, II, Esq.         Adams and Reese
          LLP         3424 Peachtree Road, NE, Suite 1600                Atlanta, Georgia 30326
5339870   Michael Chojnacky            51 W 600 N             Jerome, ID 83338
5345659   Moss Grain Partnership            301 Scott Ave. Suite 4           Rupert, ID 83350
5341333   NAPA Auto Parts            P.O. Box 1425             Twin Falls, ID 83303
5334742   NameAddress1Address2Address3CityStateZip                     116 & West805 W Idaho StSte 300Boise              2020 Window
          ServicePO Box 6056Twin F                A & K Trucking1897 E 990 SHazeltonI                A. Scott Jackson TruckingPO Box
          56Je        A. Scott JacksonTrucking IncPO Box 56
5354689   Oren B. Haker          Black Helterline LLP              805 SW Broadway Suite 1900             Portland, OR 97205
5339207   Overhead Door           489 S. Locust            Twin Falls, ID 83301
5344741   PTG of Idaho, LLC            c/o Holland N. O'Neil, Foley & Lardner LLP                 2021 McKinney Avenue, Ste.
          1600         Dallas, TX 75201
5339208   Pan American Life Insurance              1778 N Plano Rd            Ste 310        Richardson, TX 75081
5342126   PerforMix Nutrition Systems              2201 N 20th Street          Nampa, ID 83687
5339209   Pivot Man Inc          Robin Jones            PO Box 355           Paul, ID 8334
5345022   Prime Ridge Beef LLC              c/o John O'Brien           Spencer Fane         1700 Lincoln Street, Suite
          2000         Denver, CO 80203
5356686   Pro Rentals & Sales           PO Box 5450             C12         Kalispell, MT 59903
5339210   Pro Tech Service Company               1550 Kimberly Rd            Twin Falls, ID 83301
5346177   Progressive Dairy Service & Supplies Corp.                485 S. Idaho St.        Wendell, ID 83355
5336174   Progressive Dairy Service & Supply Corp.                485 S. Idaho St.        Wendell, ID 83355
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5335058   Quill Corporation         PO Box 102419           Columbia, SC 29224
5345667   Rabo AgriFinance LLC, as Administrative Agent              c/o Sheila Schwager         Hawley Troxell Ennis & Hawley,
          LLP         P.O. Box 1617         Boise, ID 83701−1617
5346019   Rexel USA, Inc dba Platt Electric Supply          827 E. Park Blvd, Ste. 201         Boise, Idaho 83712
5339211   Roark Law Offices          950 Bannock St., 11th Fl.         Boise, ID 83702
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5336660   Rogers Machinery Company, Inc.             PO Box 230429           Portland, OR 97281−0429
5342352   Schaeffer Manufacturing Company             c/o Denis McCarthy           2600 S Broadway          St. Louis, MO
          63118
5339212   Schmidt Cattle Hauling         848 E 3400 N          Castleford, ID 8332
5339213   Schow's Truck Center          PO Box 2208          Decatur, AL 35609
5345789   Sheila R. Schwager          Hawley Troxell ennis & Hawley LLP              P.O. Box 1617         Boise, ID
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5339214   Six States Distributors Inc       29787 Network Place            Chicago, IL 60673
5339215   SprinklerShop Inc         PO Box 599          Paul, ID 83347
5345131   St. Genetics       Inguran USA, INC.           22575 State Hwy 6 South           Navasota, TX 77868
5339872   Standing 16 Ranch Land Company, LLC               335 W 300 N           Jerome, ID 83338
5339876   Standlee Ag Resources          c/o Miller Nash, LLP, Attn: Louis Spiker          950 W Bannock St, Ste
          1100        Boise, ID 83702
5339873   Star Falls Farms, LLC         1908 E 1300 S          Hazelton, ID 83335
5339874   Steel Ranch LLC          2597 E 1100 S          Hazleton, ID 83335
5354401   Steven R. Hogan II         409 S. 17th Street #500         Omaha, NE 68102
5339216   Stotz Equipment          2670 Kimberly Rd E          Twin Falls, ID 83301
5354402   The Dairy Solutions Group          409 S. 17th Street #500          Omaha, NE 68102
5342832   The Sprinkler Shop          P.O. Box 599         Paul, ID 83347
5339875   Triple C Farms, LLC          474 S 500 W          Jerome, ID 83338
5336530   US Commodities, LLC            730 Second Avenue S. Suite 700             Minneapolis, MN 55402          ,
5342351   Uline        12575 Uline Drive          Pleasant Prairie, WI 53158
5347829   Valley Wide Cooperative Inc.          c/o David W. Gadd           Stover, Gadd & Associates, PLLC            P.O. Box
          1428        Twin Falls, Idaho 83301
5347503   Viserion Grain LLC          385 Broadway St          Boulder, CO 80305
5354657   Viserion Grain, LLC          385 Broadway Street          Boulder, CO 80305
5339554   Viterra USA Grain, LLC           1331 Capitol Ave.          Omaha, NE 68102
5339553   Viterra USA Ingredients, LLC           1331 Capitol Ave.          Omaha, NE 68102
5338166   Wag Services, Inc.         8121 W HARRISON ST               Tolleson, AZ 85353          ,
5339217   Wendell Truck and Auto           PO Box 213          356 S Idaho St         Wendell, ID 83355
5339218   Western Construction Inc          PO Box 15569           Boise, ID 83715
5335378   Westway Feed          BARR Credit Services           3444 N Country Club Rd            Ste 200        Tucson, AZ
          85716
5341725   Wilbur−Ellis Nutrition, LLC         c/o Matthew A. Sturzen           PO Box 2247          Salem, OR 97308
5338356   Williams, Meservy & Larsen           Post Office Box 168          153 East Main Street         Jerome, ID 83338
5342349   Young CDJR of Burley, LLC            PO Box 1530            Layton, UT 84041
5336406   Youree Land & Livestock Inc.           3953 North 3300 East          Twin Falls, ID 83301
                                                                                                                   TOTAL: 212
